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                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                SOUTHERN DIVISION


TERESA A. MILES,                                      4:20-CV-04001-KES

                   Plaintiff,

      vs.                                                 JUDGMENT

WAL-MART STORES, INC.,

                   Defendant.


      Under the parties’ joint stipulation for dismissal (Docket 13), it is

      ORDERED, ADJUDGED, AND DECREED that the above-entitled action

is dismissed with prejudice and the parties shall bear their own costs,

expenses, and attorney fees.

      Dated June 15, 2020.

                                      BY THE COURT:


                                      /s/ Karen E. Schreier
                                      KAREN E. SCHREIER
                                      UNITED STATES DISTRICT JUDGE
